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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA

                       -v-                                       20 Cr. 463 (KPF)

    PURIFICACION CRISTOBAL,                                            ORDER

                                      Defendant.

KATHERINE POLK FAILLA, District Judge:

        On January 19, 2023, Defendant Purificacion Cristobal was sentenced

principally to concurrent terms of 84 months’ imprisonment on Counts One,

Six, and Seven of Indictment S1 20 Cr. 463. (See Dkt. #77 (superseding

indictment), 202 (judgment); January 19, 2023 Minute Entry).

        On May 30, 2024, Defendant filed a motion requesting that this Court

consider a sentence reduction pursuant to Amendment 821 to the United

States Sentencing Guidelines (“U.S.S.G.”), which amendment went into effect

on November 1, 2023, and applies retroactively. (Dkt. #230). 1 The United

States Probation Office thereafter issued a supplemental presentence

investigation report indicating that Defendant is not eligible for a sentence

reduction under Amendment 821.

        The Court has considered the record in this case and Defendant’s

submission on her motion. The Court finds that Defendant is ineligible for a

reduction in her sentence because she fails to meet the eligibility criteria for


1       Defendant separately filed a motion for a reduction in sentence pursuant to the
        compassionate release provision, 18 U.S.C. § 3582(c)(1)(A)(i). (Dkt. #231). That motion
        will be addressed in a separate order.
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both the status points reduction pursuant to U.S.S.G. § 4A1.1(e) and the zero-

point offender offense level reduction pursuant to U.S.S.G. § 4C1.1.

Accordingly, the Court DENIES her motion.

      The Clerk of Court is directed to terminate the pending motion at docket

entry 230. The Clerk of Court is further directed to mail a copy of this Order

and the accompanying AO 247 form to Defendant at the following address:

             PURIFICACION CRISTOBAL, #88061-054
             FCI MARIANNA
             FEDERAL CORRECTIONAL INSTITUTION
             P.O. BOX 7007
             MARIANNA, FL 32447

If Defendant wishes to review the Probation Office’s eligibility report, she may

do so through her case manager.

      SO ORDERED.

Dated:       July 8, 2024
             New York, New York

                                            ____________________________________
                                                  KATHERINE POLK FAILLA
                                                 United States District Judge
